Case: 1:18-Cv-O7763 Document #: 1-1 Filed: 11/21/18 Page 1 of 1 Page|D #:14

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U“\t United States Patent and Trademark Oge:er[[ ca

Xaphoon

Reg. No. 4,960,197
Registered May 17, 2016

Int. Cl.: 15

TRADEl\lARK
PRINCIPAL REGISTER

 

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Director of the United States
Patent and Trademark Offlce

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P.O. BQX 791163

PAI/\, m 96779

FQR; MUSICAL INSTRUMENT ACCESSORIES, NAMELY, STANDS, CASES, CARRYING
BAGS AN1) s'1‘01<AGE BAGS; 1\1us1cAL 1Ns'1‘1<u1\1hN1‘s, 1N cLAss 15 (U.s. cLs. z, 21
AND 36)_

FIRST USE 1-1-1976-,11\1 C0M1\1ERCE1-1-1976.

THE MARK CONSISTS OF STANDARD CHAKACTERS WITHOUT CLAIM TO ANY PAR-
TICULAR FONT, STYLE, SIZE, OR COLOR.

THE WOR_DING "XAPHOON" HAS NO MEANING IN A FOREIGN LANGUAGE.
SEK. N(). 86-774,3()0, f`lLbD 9-3()-2()15.

KATHERIN]: E. HALME.\", EXAMINING ATTORNEY

